
PER CURIAM.
The State timely appeals the trial court’s order granting Kimberlee Wells’ motion to dismiss one count of conspiracy to traffic in hydrocodone. We affirm on the authority of State v. Perry, 716 So.2d 327 (Fla. 2d DCA 1998) and State v. Holland, 689 So.2d 1268 (Fla. 1st DCA 1997), and certify conflict with State v. Baxley, 684 So.2d 831 (Fla. 5th DCA 1996), which held that a defendant who sells four grams or more of hydrocodone could be subject to prosecution for trafficking in hydrocodone.
PARKER, C.J., BLUE and QUINCE, JJ., Concur.
